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UNITED STATES OF AMERICA,

Plaintiff,
Vv.
ANTHONY SALOME,
Defendant.

consistent with that Guideline reduction.

DATED this 28" day of September, 2015.

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Case No. 2:13-cr-160-APG-CWH

ORDER DENYING SENTENCE
REDUCTION

On December 11, 2013, I sentenced Mr. Salome to 120 months of incarceration.
Subsequently, the United States Sentencing Commission adopted a two-level reduction in the

Sentencing Guidelines’ drug offense levels. Mr. Salome seeks a reduction of his sentence

Mr. Salome’s 120-month sentence was the result of a downward variance from the
Guidelines. He was sentenced to the mandatory minimum sentence under the applicable statute.
A reduction in the applicable Sentencing Guidelines cannot supersede the statutory mandatory

minimum sentence. Therefore, Mr. Salome is not eligible for a sentence reduction.

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ANDREW P. GORDON
UNITED STATES DISTRICT JUDGE

